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                                                                                       FILED
                               UNITED STATES DISTRICT COURT                        August 26, 2024
                                WESTERN DISTRICT OF TEXAS                       CLERK, U.S. DISTRICT COURT
                                   SAN ANTONIO DIVISION                         WESTERN DISTRICT OF TEXAS

                                                                                             MGR
                                                                             BY: ________________________________
GROVANO INC., Individually and on                  §                                                 DEPUTY
Behalf of All Others Similarly Situated,           §
                                                   §
                         Plaintiffs,               §
                                                   §
v.                                                 §           SA-24-CV-63 1 -JKP (HJB)
                                                   §
ROCKET ENTERPRISES, LLC,                           §
                                                   §
                         Defendant.                §

                                             EFORMATI
                             SCHEDULING RECOMMENDATIONS

          The parties recommend that the following deadlines be entered in the scheduling order to

control the course of this case:

     1.   The parties must make initial disclosures as required by Federal Rule of Civil Procedure
          26(a)( 1). To the extent a defendant knows the identity of a responsible third party
          contemplated by Texas Civil Practices & Remedies Code § 33.004, such identity is subject
          to disclosure under Rule 26(a)(1)(A)(i).
                              "c ';'
     2. On or before [iNSERT DATE] the parties must submit a Joint Report indicating their
        agreement regarding a method of ADR, an ADR provider, the method of compensating the
        provider, and a date for completing the ADR proceeding no later than the date set out in
        Paragraph 10 below. See Local Rule CV-88(a).

     3. Parties asserting claims/for relief must submit a written offer of settlement to opposing
          parties on or before [1NERT DATE] and each opposing party must respond, in writing on
          or before. All offers of settlement are to be private, not filed. The parties must retain the
          written offers of settlement and response, as the Court will use these in assessing attorney's
          fees and costs at the conclusion of the proceedings. At any time, if the parties reach a
          settlement, they should immediately notify the Court by filing a joint advisory. The joint
          advisory must state the parties who reached the settlement and whether a settlement
          conference is required or desired. If a conference is requested, the parties must confer and
          provide mutually agreeable potential dates for the conference.

     4. On or before [INSERT DATE] the parties must file any motion seeking leave to amend
          pleadings or join parties. To the extent it may apply in this case, the deadline for
          Defendant(s) to file a motion to designate responsible third parties, pursuant to Texas Civil
          Practice & Remedies Code § 33.004(a), is [INSERT DATE].
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    5. Parties asserting claims for relief must file their designation of testifying experts and serve
        on all parties, but not file, the materials required by Federal Rule of Civil Procedure
        26(a)(2)(B) on or before [INSERT DATE].

    6. Parties resisting claims for relief must file their designation of testifying experts and serve
       on all parties, but not file, the materials required by Federal Rule of Civil Procedure
       26(a)(2)(B) on or before [INSERT DATE].

    7. Parties must file all designations of rebuttal experts and serve on all parties the material
       required by Federal Rule of Civil Procedure 26(a)(2)(B) for such rebuttal experts, to the
       extent not already served, within fourteen days of receipt of the report of the opposing
       expert.

       The deadline to file supplemental expert reports required under Federal Rule of Civil
       Procedure 26(e)(2) is at least 30 days before trial. The parties are advised any report filed
       under this deadline may only supplement the initial report and may not introduce new
       opinion or subject matter. This deadline is not intended to provide an extension of the
       deadline by which a party must deliver the substance of its expert information oropinion.

    9. The parties must initiate all discovery procedures in time to complete discovery on or
       before [iNSERT DATE]. Written discovery requests arc not timely ifthey are filed so close
       to this deadline that under the Federal Rules of Civil Procedure the response would not be
       due until after the expiration of the deadline. See Local Rule CV- 16(e). The parties may be
       agreement continue discovery beyond the deadline, but there will be no intervention by the
       Court except in exceptional circumstances. See id. No trial date setting or other deadline
       set forth herein will be vacated due to information obtained in post-deadline discovery.
                                                                                   ///9/2-*'
    10. Parties must complete the agreed mediation or other ADR proceeding by [iNSERT DATE].
       At the conclusion of any ADR proceeding, a report must be filed with the Court. See Local
       Rule CV-88(g).

    11. On or before [INSERT DATE], the parties must file any motion to challenge. or exclude
       expert witnesses. Any such motion must specifically, state the basis for the motion and
       identify the objectionable testimony.
                       / /3/2-'
   12. On or before [iNSERT IDATE], the parties must file any dispositive motiofls, including
       motions for summary judgment on all or some of the claims. Further, notwithstanding any
       deadline provided herein, no motion (other than a motion in limine) may be fitedafterthis
       date except for good cause.                                                            H


   13. The District Court will set dates for trial and the final pretrial conference after receiving
      and reviewing filed dispositive motions or after the deadline for such mctions passes
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        without a pertinent filing. At that time, it will likewise set appropriate deadlines for trial
        and pretrial conference matters.




                                  CERTIFICATE OF SERVICE
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                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF TEXAS
                                   SAN ANTONIO DIVISION

  GROVANO INC., Individually and on                                                AUG 2 6 2024
                                                   §
  Behalf of All Others Similarly Situated,         §                        CLERK, U S. DLSTRJCI COUFT
                                                                            WESTERN        .
                                                                                               Or TcA
                                                   §                        BY
                        Plaintiffs,                §                                             DEPUT'(
                                                   §
 v.                                                §          SA-24-CV-63 I -JKP (HJB)
                                                   §
 ROCKET ENTERPRISES, LLC,                          §
                                                   §
                        Defendant.                 §

                                   ORDER SETTING ViDEO
                              INITIAL PRETRIAL CONFERENCE

        Before the Court is the status of the above case. Pretrial and scheduling matters in this case

 have been referred to the undersigned pursuant to 28 U.S.C.        636(b).      (See Docket Entry 5.)

 Accordingly, pursuant to Federal Rule of Civil Pro         16(b), this case is set for a Video Initial

 Pretrial Conference ("IPC")     ost 20:4,   30,       at :30 P.M. The        C will be held by video

teleconference using the Zoom v deo platform. On the designated date and time ofthe conference,

the parties are directed to join ZOOMGOV meeting, at the following address:


        https://txwd-uscourts.zoom2ov.com/j/16126018188
        MeetingiD: 16126018188

        The parties are responsible for ensuring, in advance of the conference, that their video

teleconference equipment is functioning and properly connects with the Court's system. Parties

having any     difficulties   should   contact the     Courtroom. Deputy         Cindy Miranda at

cindy_miranda@txwd.uscourts.gov.

       In preparation for the conference, on or before August 23, 2024, the parties must submit

 1)   Joint Federal Rule of Civil Procedure 26(f) Repocheduling Recommendations, and

(3) n Advisory as to Magistrate Judge Jurisdiction, as described below.
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 I.    Joint Rule 26(1) Report.

       The parties must submit a Joint Rule 26(f) Report answering the questions below:

              What are the causes of action, defenses, and counterclaims in this case? What are
              the elements of the cause(s) of action, defenses, and counterclaims pled? /i/,4

       2.     Are there any outstanding jurisdictional issues? For removed cases based on
              diversity jurisdiction:

              a.   Do the parties agree that the amount in controversy exceeded S75,000 at the
                   time of removal? If not, each party should state its position on the diversity of
                   the parties and the amount in controversy.

             b. If any party is a partnership or limited liability company, have the parties
                confirmed the citizenship of all partners/members in determining whether
                   diversity exists?

       3.    Are there any unserved parties? If more than 90 days have passed since the filing
             of the Complaint or Petition, should these unserved parties be dismissed?

      4.     Are there agreements or stipulations that can be made about any facts in this case
             or any element in the cause(s) of action?
                                                         N/ J
      5.     Are there any legal issues in this case that can be narrowed by agreement or motion?

      6.     Are there any issues about preservation of discoverable information?

      7.     Are there any issues about disclosure or discovery of electronically stored
             information ("ESI")? In what forms should ESI be produced and will production
             include metadata?

      8.     What are the subjects on which discovery may be needed? fr/,4

      9.    Have initial disclosures been made? If not, should any changes be made in the
            timing, form, or requirement for initial disclosures? jV/i1

      10.   What, if any, discovery has been completed? What discovery remains to be done
            and when should it be completed? Have the parties considered conducting
            discovery in phases or agreeing to limit discovery?
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       11.    Have the parties discussed early mediation? iV/I

       12.    Have the parties discussed the desirability of filing a proposed order pursuant to
              Federal Rule of Evidence 502? IVJ1

       13.    Have the parties considered seeking entry of a confidentially and protective order?
              (See Local Rules Appendix H-I and Appendix H-2 for examples of confidentially
              and protective orders for use in "standard" and "complex" cases.) i/i9

       14.    What, if any, discovery disputes exist that require the Court's attention at the time
              ofthelPC?

II.    Scheduling Recommendations.

       In an effort to assist the parties in resolving this case as expeditiously and efficiently as

possible, and in accordance with Rule CV-! 6(c) of the Local Court Rules of the Western District

of Texas, the parties must confer and then submit Scheduling Recommendations to the Court. The

parties must indicate in their Scheduling Recommendations that they have in fact conferred as

required. When conferring, the parties should endeavor to agree concerning proposed dates, but

in the event they are unable agree on dates, each party may file its own Scheduling

Recommendations including the reason(s) for the disagreement.

       The Scheduling Recommendations must include the following deadlines and should be

submitted in a format similar to the attached detailed Scheduling Recommendations:

              Initial Disclosure: (no deadline needed unless determined otherwise at the IPC).
              The parties must make initial disclosures as required by Federal Rule of Civil
              Procedure 26(a)(1). To the extent a defendant knows the identity of a responsible
              third party contemplated by Texas Civil Practices & Remedies Code § 33.004, such
              identity is subject to disclosure under Rule 26(a)(1)(A)(i).

       2.     Alternative Disoute Resolution ("ADR") Reoort. On or before (the suggested
              period being 30 days from the date of the IPC), the parties must submit a Joint
              Report indicating their agreement regarding a method of ADR, an ADR provider,

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            the method of compensating the provider, and a date for completing the ADR
            proceeding no later than the date set out in Paragraph 8 below. See Local Rule CV-
            8 8(a).

             Offer of Settlement: Parties asserting claims for relief must submit a written offer
            of settlement to opposing parties on or before (the suggested period being 60 days
            from the date of the IPC), and each opposing party must respond, in writing on or
            before (the suggestedperiod being 14 days after receipt of the offer ofseltlemenf).

      4.    Amend Pleadings or Join Parties: On or before (the suggested period being
            çgyfrom the dale of the IPC), the parties must file any motion seeking leave to
            amend or join parties. To the extent it may apply in this case, the deadline for
            Defendant(s) to file a motion to designate responsible third parties, pursuant to
            Texas Civil Practices & Remedies Code § 33.004(a), is (the suggestedperiod being
            60 days from the dale ofthe IFC).

      5.    Designation of Experts: Parties asserting claims for relief must file their
            designation of testifying experts and serve on all parties, but not file the materials
            required by Federal Rule of Civil Procedure 26(a)(2)(B) on or before (the standard
            period being 90 days from the date of the IPC).

      6.    Designation of Experts (Continued): Parties resisting claims for relief must file
            their designation of testifying experts and serve on all parties, but not file the
            materials required by Federal Rule of Civil Procedure 26(a)(2)(B) on or before (the
            standard period being 120 days after the date ofthe IPC).

      7.    Discovery: The parties must initiate all discovery procedures in time to complete
            discovery on or before (the suggested period being 180 days from the date of the
            IPC).
      8.    ADR: The parties must complete mediation or other ADR in this case on or before
            (the suggested period being 15 days after the discovery deadline).
      9.    Expert Dispute Motions: On or before (the standard period being 30 days after
            the discovery deadline), the parties must file any motions to challenge or exclude
            expert witnesses.

      10.   Dispositive Motions: On or before (the standard period being 45 days after the
            discovery deadline), parties must file any dispositive motions, including motions
            for summary judgment on all or some of the claims.




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                                                                        be considered by Court, the
       Although the Proposed Scheduling Recommendations will

setting of all dates is within the discretion of the Court.

III.   Advisory as to Magistrate Jurisdiction.
                                                                            are authorized to conduct
        Pursuant to 28 U.S.C. § 636(c)(1), full-time Magistrate Judges

the trial of any civil case, jury or non-jury, with the consent
                                                                  of all parties to the lawsuit and the

approval of the District Court. If the parties have not already
                                                                    done so, they must indicate their

                                                                     to the Clerk of Court). Consent
consent or non-consent on the attached form (Consent Advisory
                                                                   is free to withhold consent without
to trial by a Magistrate Judge must be voluntary and any party

suffering any adverse consequences.       If all parties consent to trial of this case by a Magistrate
                                                                        Magistrate Judge for trial and
Judge, the District Court may enter an order assigning the case to a
                                                                        referred to a Magistrate Judge
 entry of Judgment. If, as in this lawsuit, the case has already been
                                                                        jurisdiction, the case will be
 for pretrial matters and the parties consent to Magistrate Judge

 reassigned to the Magistrate Judge to whom the case is already referred.

         It is so ORDERED.

         SIGNED on July 9, 2024.




                                                         Henry J. Bemporad
                                                         United States Magistrate Judge
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